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                     Exhibit 1
                  Civil Action No. 25-00946 (CKK)
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

               Plaintiffs,

       v.                                         Civil Action No. 25-0946 (CKK)

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

               Defendants.

DEMOCRATIC NATIONAL
COMMITTEE, et al.,

               Plaintiffs,

       v.                                         Civil Action No. 25-0952 (CKK)

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

               Defendants.

LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

               Plaintiffs,

       v.                                         Civil Action No. 25-0955 (CKK)

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

               Defendants.

               DECLARATION OF BRIANNA SCHLETZ
 EXECUTIVE DIRECTOR OF THE U.S. ELECTION ASSISTANCE COMMISSION
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        I, Brianna Schletz, pursuant to 28 U.S.C. § 1746, declare that the following statements

are true and correct to the best of my knowledge and belief:

   1. I am the Executive Director of the United States Election Assistance Commission (EAC).

I have held this role since March 2024. As Executive Director of the EAC, I am responsible for

preparing policy for approval by the EAC Commissioners, implementing policies once they are

made, and managing administrative matters in consultation with the EAC General Counsel.

Prior to serving as Executive Director, I served approximately two and a half years as the EAC’s

Inspector General.

   2. The regulations prescribing the content of the Federal Form are at 11 C.F.R. § 9428.4. In

order to change the content of the Federal Form, the EAC must first update the regulation.

   3.    To update 11 C.F.R. § 9428.4, the proposed regulation must be approved by at least

three of the four Commissioners. See 52 U.S.C. § 20928.

   4. After the EAC votes to approve the proposed regulation, it must follow the

Administrative Procedure Act’s notice-and-comment rule-making process. See 5. U.S.C. § 553.

The EAC must also consult with the chief election officers of the States to prescribe the content

of the Federal Form. 52 U.S.C. § 20508(a)(1). The consultation requirement in 52 U.S.C. §

20508(a)(1) may be satisfied by the public comment period provided in a notice of proposed

rulemaking. See 75 F.R. 47729.

   5. Following the public comment period, the EAC must consult with the chief election

officers of the States to develop a revised Federal Form. See 52 U.S.C. § 20508(a)(2).

   6. Three Commissioners would then need to approve the issuance of the revised Federal

Form. See 52 U.S.C. § 20928.
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   7. Once any revisions to the Federal Form are finalized, the new version of the Federal

Form must be submitted as an information collection to the Director of the Office of

Management and Budget for approval. See 90 F.R. 11159.

   8. To date, the EAC has not denied funds to any State on the basis of non-compliance with 2

U.S.C. § 7 and 3 U.S.C. § 1.




I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 14, 2025

                                                      _________________________________

                                                      Brianna Schletz
